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                                                          August 30,2O2l

Hon. Brian R. Martinotti
United States District Judge
United States Post Office & Federal Courthouse
2 Federal Square
Newark, New Jersey O7102

                     Re: United States v. Jose Torres
                                Crim. No. 2O-418 (BRM)

Dear Judge Martinotti:

          Please accept this letter brief in lieu of a more formal response to defendant
Jose Torres's opposition to the Government's in limine motions. The Government
respectfully maintains our initial positions, as outlined in our August 9,2021
submission. This submission addresses points raised by the defense in their
response. As outlined herein, the Government respectfully submits: 1) Torres's
threatening and assaultive conduct is admissible as intrinsic evidence, or
alternatively, pursuant to Rule aoa(b); 2) the victims should be permitted to
testi$r using only their Iirst names; 3) Torres should be precluded from
introducing evidence or arguments about the victims' sexual behaviors or
predispositions; and 4) Torres should be precluded from introducing evidence or
arguments tending to promote jury nuliification.

                                            Legal Arguments

    I.         Evidence of Torres's assaultive. threatenin g, and violent conduct is
               admissible as intrinsic evidence. or alternativel v, pursuant to Rule
               404(b).

       Evidence of Torres's assaultive, threatening, violent conduct is admissible
as intrinsic evidence. At trial, the Government must prove that the defendant
"persuade[d], induce[d], entice[d], or coerce[d] any individual to travel in interstate
commerce . . . to engage in prostihttion " 18 U.S.C. 2422(a\ (emphasis added).
Establishing that prostitution actually occurred goes directly to an element of this
offense - the purpose underlying the interstate travel. Here, the defendant utilized
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threats and violence to accomplish his stated purpose - engaging in prostitution.
Torres threatened and assaulted his victims in order to prevent them from leaving
the room prior to commencing the prostitution-related sexual activities (Victim-2)
and to keep them in the room so that he could continue the sexual activities
when they protested (Victim-1, Victim-3, and Victim-6). For instance:

      After commencing the prostitution-related sexual activities with Torres,
      Victim-1 stated that she was uncomfortable about the payment situation
      and asked Torres to stop. Torres continued forcing himself on Victim- 1,
      slapped her in the face, and choked her. Victim- 1 stayed in the room
      because she feared for her safety.

      Victim-2 entered Torres's hotel room and requested payment prior to
      beginning any sexual activities. Torres asked Victim-2 why she was being "a
      bitch," to which Victim-2 responded that she was leaving. Torres told
      Victim-2 that he was a police oificer and that many things could go wrong
      for her if she left. Torres advised Victim-2 that if she stayed, he would pay
      her in the morning and she would not have any legal troubles. Torres
      proceeded to engage in rough, aggressive sex with Victim-2, slapping her,
      choking her, and calling her a whore. Victim-2 stated that she walted to
      leave the room, but did not because of Torres's threats.

      After commencing the prostitution-related sexual activities with Torres,
      Victim-3 became uncomfortable with certain conduct, namely Torres's
      refusa-l to wear a condom and his requests to urinate and defecate on her.
      Torres told Victim-3 that it would not be in her interest to try and leave the
      room. Victim-3 took this as a direct threat and was afraid for her life.

      After commencing the prostitution-related sexual activities with Victim-6,
      Torres removed the condom and continued. Victim-6 attempted to push
      him off of her and told him to stop. He did not. Victim-6 was frightened that
      Torres would harm her if she was not compliant. She remained in the room.
      After multiple additional sessions of sexual activity with Torres, Victim-6
      left the room while Torres was asleep.

The Government's argument is simple: Torres's threatening and violent conduct
instilled a sense of fear in his respective victims that allowed him to accomplish
his stated purpose - engaging in prostitution. This evidence is intrinsic to the
charged conduct.

      The defense summarily dismisses many of the cases cited by the
Government because they either arose under a different section of the Mann Act
or because they involved violence inflicted by pimps, as opposed to so-ca1led
"Johns." Unfortunately, the defense is missing the point: evidence that a criminal
defendant utilized violence and threats to assert control and frighten a victim into
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compliance is intrinsic because the violence and threats facilitate the criminal
act. Whether the respective defendant was acting as a "John" or a "pimp" is
irrelevant to this analysis - indeed, 18 U.S.C. $ 2422(al makes no such
distinction.

         ln United States u. Williams,291 F.3d 1180 (9th Cir.2OO2l, the Ninth
         Circuit considered the admissibility of assaultive, violent conduct
         inflicted by a pimp upon his victims. In finding that the assaults were
         admissible as intrinsic evidence, the court noted "[a]though [the]
         defendant is correct that the violent acts were not statutory elements of
         proof, the assaults were the means bg uthich [the] defendant maintained
         the necessary control ouer his uictims so as to carry out the cimes
         charged." Id. at 1189 (emphasis added).

         ln United States u. Euans,285 F.3d 664 (8th Cir. 2OO2l, the Eighth
         Circuit considered the admissibilit5z of assaultive, violent conduct
         inflicted by a pimp upon his victims. In finding that the acts were
         admissible as intrinsic evidence, the court noted "[t]hese violent acts are
         relevant and probative of Mann Act violations because they were done to
         control and discipline prostitutes . . ." Id. at 670 (emphasis added).

         In Wilkerson u. United States, 342 F.2d aO7 (8th Cir. 1965), the Eighth
         Circuit considered the admissibility of assaultive, violent conduct
         inflicted by a husband against his wife, whom he was trafficking. In
         finding that the acts were admissible as intrinsic evidence, the court
         noted that the evidence in question demonstrated "the force he used to
         keep his victims under control and to carry out his ultimate purpose." Id.
         at 812-13.

Despite the defense's assertions to the contrary, the cases cited by the
Government are directly on point.

      The defense argument that the crimes were "over' the second the respective
victim walked into Torres's hotel room is inaccurate. In essence, this argument
inappropriately narrows the duration of Torres's criminal conduct. These
incidents of engaging in prostitution (i.e., an element of the criminal conduct)
were not simply brief encounters, rather, they were continuing, prolonged
interactions that went on for hours. The defense's argument has the impact of
placing an incorrect, incomplete, and misleading set of facts before the jury.

   II.   The Victims Should Be Permitted to Testifv Without Placine their Last
         Names on the Record in Open Court.

     Torres' objection to the victims testiflring without their last names boils
down to this: since, according to him, the victims have no safet5r concerns and are
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not minors, they have no right to testify in a manner that does not involve public
embarrassment. This is an inaccurate assessment of the facts and an inaccurate
statement of the law. The Crime Victims' Rights Act grants all victims the right to
be treated with respect for their dignity and privacy. See 18 U.S.C. S 3771(a)(8).
Torres wholly ignores the fact that courts frequently permit victims to testifl/
absent their full names in order to prevent pubiic humiliation, embarrassment, or
other consequences such as loss of employmenl. See, e.9., United States u. Pans,
No. CR. 3:O6-CR-64CFD,2OO7 WL 1484974, at*2 (D. Conn. May 18,2OO7l
(finding that "the interests of the Government, the Jane Does and the Minors in
protecting these witnesses from the likely adverse personal, professional and
psychological consequences of publiciy linking their identities to their past lives
as sex workers is legitimate and substantial"); United States u. Marcus, 2OO7 WL
330388, at *l-2 (E.D.N.Y. Jan. 31, 2007) (ruling that potential harassment,
potential loss of employment, and the explicit nature of anticipated testimony are
legitimate reasons to protect witnesses'full identities and to exclude mention of
witnesses'home addresses, and current places of employment). This is true both
when the victims are adults, and when they are testifying about sensitive
information, such as sexual exploits.

        Additionally, while the charged crimes are not sexual assaults, the same
underlying rationale applies to this matter: commercial sex workers, a lrrlnerable
segment of our community, would be deterred from reporting incidents of
misconduct should they be forced to testifu with their full names and risk the
related consequences. See Doe No. 2 u. Kolko,242 F.R.D. 193, 196 (E.D.N.Y.
2006) ("the public generally has a strong interest in protecting the identities of
sexual assault victims so that other victims will not be deterred from reporting")
(citations omitted).

       Finally, Torres provides no particularued need for why the victims should
testify with their full identi!,ing information. In fact, he makes absolutely no
Confrontation Clause-related argument at all. Nor could he, given that the
Government has already provided defense counsel with the identities of the
victims and intends to disclose them to Torres himself one month prior to tria1.
Thus, Torres's opposition to the Government's application to allow the victims to
testify using only their Iirst name appears to be a request that would serve only to
harass, to embarrass and "to humiliate or annoy the [victims]," and could
potentially subject them to reprisals." United States u. Marti,42l F.2d 1263, 1266
(2d Cir. 197O). Torres'request should be denied and the victims should be
permitted to testify using only their first names.

   III.   The Court should exclude evidence of the victims'alleeed sexual
          behavior and/or sexual predisposition.

       Torres'argument regarding Rule 412 is internally inconsistent. He states
bottr that he "does not intend to produce or solicit evidence of any of the victims'
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sexual behavior or sexual predisposition" but also that he intends to eiicit'any
sexual behavior by sex workers in general, including the victims, that are relevant
to the enticement issue." Again, Torres'argument lacks any basis in the law. He
essentially says that he will not ask the victims about their sexual exploits, except
of course, when he wi1l. But it is not Torres' decision as to when evidence is
admissible under Rule 472. T}:e Rule is clear: the basic rule is that the sexual
histories of victims are not admissible, except when they fall into one of the three
named exceptions. See Fed. R. Euid.4l2 (b). Torres raises nonq ofthese
exceptions and therefore his motion should be denied.

      Torres also attempts to discredit courts that have utilized the sound
reasoning that is implicit in Rule 4 12 to exclude evidence of prior and subsequent
sexual acts of prostitutes. He does this by attempting to distinguish these cases
because they either involved minor victims or allegations of sex trafficking.
However, Rule 412 is not so limited. In fact, as the Government noted in its
moving papers, unlike in sex trafficking prosecutions, consent is not a defense to
the charged statute in this matter. See, e.9., United States u. Lou.te, 145 F.3d 45,
52 (1st Cir. 1998) ("Consent is a defense to kidnapping but not to a Mann Act
charge."); United States u. Pelton,578 F.2d 7Ol,712 (8th Cir. 1978) ("Consent is
neither a defense to a violation charged under $ 2421, nor to a violation charged
under $ 2422"). Therefore, the potential relevance of any prior or subsequent
prostitution by the victims in this matter becomes even less probative than it
would be in the cases involving sex trafficking.

       The defense's reliance on United States u. Brou.tn, No. 3-CR- 17-396, 2019
WL 1227427, at *2 (M.D. Pa. Mar. 15, 2019) is misplaced. ln Brown, the
defendant was charged with sex-trafficking by force, fraud, and coercion, in
violation of 18 U.S.C. $$ 1591(a) and (b)(1), sex-trafficking of a minor by force,
fraud, and coercion, in violation of t8 U.S.C. $$ 1591(a) and (b)(1), and narcotics
offenses. Id. The District Court granted the Government's pre-trial appiication to
prevent the defendant from introducing evidence ofprior and subsequent
prostitution-related acts by the Government's victim witnesses. 1d. at 1. The
Broun Court did, however, a1low for cross-examination on one very narrow area -
"the court will allow Brown to ask the Government's victim witnesses about other
prostitution acts that occurred during the time period charged in the indictment,
as they are relevant to the issue of force or coercion." Id. at 2. The indictment in
Broutn, though, differs from the Second Superseding Indictment in the present
case. There, the indictment contemplated a continuing course of conduct that
spanned a number of years - "from in or about 2011, to in or about 2014." But
here, the Second Superseding Indictment contemplates six separate and distinct
counts that occurred at specific times - not a continuing course of conduct that
would span from May 2015 to October 2019, as the defense suggests. Therefore,
cross-examination should be iimited to Torres' interaction with each victim, which
spans a single day.


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       The present case differs from Brou.tn in one additional critical respect - the
Brorzn court's ruling constrained cross-examination to issues that were relevant
to "force or coercion." Id. at2. Here, the defense has identified no such relevant
issue or permissible purpose for any such information. The defense has indicated
that they will fiie an application, pursuant to Rule 412(cl by October 4, 2027 , blut
until that application is l-rled, the Government respectfully submits that the
defense has not carried their burden with respect to admission of this evidence.

     IV.   The defense should be precluded from advancing an arRumeqlor
           eliciting testimony that promotes iury nuiiification.

       Given that Torres has not contested the Government's in limine as it relates
to legal arguments and those concerning nullification, this Court should consider
that motion unopposed and make an affirmative ruling that Torres and his
counsel may not put these arguments before the jury.

                                    Conclusion

       For the foregoing reasons, the Government respectfully submits that 1)
Torres's threatening and assaultive conduct is admissible as intrinsic evidence, or
alternatively, pursuant to Rule aoa@); 2) the victims should be permitted to
testify using only their first names; 3) Torres should be precluded from
introducing evidence or arguments about the victims' sexual behaviors or
predispositions; and 4) Torres should be precluded from introducing evidence or
arguments tending to promote jury nullification. The Government respectfully
relies on our August 9, 2O2l for all additional arguments.


                                             Respectfully submitted,

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